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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE


In re:                                                                Chapter 11

Legacy IMBDS, Inc., et al.,1                                          Case No. 23-10852 (KBO)

                          Debtors.                                    (Jointly Administered)


Synacor, Inc.,

                          Plaintiff,                                  Adv. Pro. No. 23-50753-KBO

         v.

IV Media, LLC; Innovation Ventures, LLC; Portal
Acquisition Co.; iMedia Brands, Inc.; ValueVision
Interactive, Inc.; VVI Fulfillment Center, Inc.;
ValueVision Retail Inc.; JWH Acquisition
Company; PW Acquisition Company, LLC; EP
Properties, LLC; FL Acquisition Company;
Norwell Television, LLC; 867 Grand Avenue,
LLC; and Unidentified Parties, 1-25,

                          Defendants.


                                    CERTIFICATE OF SERVICE

         I, Christopher Viceconte, certify that:

         1.      I am, and at all times during the service of process described herein was, not less

than 18 years of age and not a party in this matter.




1
  The debtors in the above-captioned chapter 11 cases, along with the last four digits of each Debtor’s federal tax
identification number are: ValueVision Media Acquisitions, Inc. (8670); iMedia Brands, Inc. (3770); ValueVision
Interactive, Inc. (8730); Portal Acquisition Company (3403); VVI Fulfillment Center, Inc. (5552); ValueVision Retail
Inc. (2155); JWH Acquisition Company (3109); PW Acquisition Company, LLC (0154); EP Properties, LLC (3951);
FL Acquisition Company (3026); Norwell Television, LLC (6011); and 867 Grand Avenue, LLC (2642). The Debtors’
service address is 6740 Shady Oak Road, Eden Prairie, MN 55344-3433.
              Case 23-50753-KBO          Doc 3       Filed 11/09/23   Page 2 of 41




       2.      I am a director of the law firm of Gibbons P.C., counsel for Synacor, Inc., plaintiff

in the above-captioned adversary proceeding.

       3.      On November 7, 2023, I caused a true and correct copy of (i) the Complaint for

Declaratory Judgment, which was filed with the United States Bankruptcy Court for the District

of Delaware on November 1, 2023 [D.I. 1]; (ii) the Notice of Dispute Resolution Alternatives

(Local Form 110B); and (iii) the Summons and Notice of Pretrial Conference in an Adversary

Proceeding (Local Form 108), attached hereto as Exhibit A through Exhibit M (each a

“Summons”), to be served upon each of the above-captioned defendants at the address set forth in

each Summons, by regular first class United States mail, postage fully pre-paid.

       I declare under penalty of perjury that the foregoing is true and correct.



Dated: November 9, 2023                       GIBBONS P.C.
Wilmington, Delaware
                                              /s/ Christopher Viceconte
                                              Christopher Viceconte (No. 5568)
                                              GIBBONS P.C.
                                              300 Delaware Avenue, Suite 1015
                                              Wilmington, Delaware 19801
                                              Telephone: (302) 518-6300
                                              Email: cviceconte@gibbonslaw.com




                                                 2
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                EXHIBIT A
                          Case 23-50753-KBO                  Doc 3       Filed 11/09/23            Page 4 of 41


                                              United States Bankruptcy Court
                                                   District of Delaware
In re:    Legacy IMBDS, Inc., et al.,1                      )
                                    Debtor,                 )
                                                            )                    Case No.: 23-10852 (KBO)
          Synacor, Inc.,                                    )
                                      Plaintiff,            )                    Chapter: 11
                    v.                                      )
                                                            )
          IV Media, LLC; Innovation Ventures, LLC; Portal )                      Adv. Proc. No.: 23-50753
          Acquisition Co.; iMedia Brands, Inc.; ValueVision )
          Interactive, Inc.; VVI Fulfillment Center, Inc.;  )
          ValueVision Retail Inc.; JWH Acquisition Company; )
          PW Acquisition Company, LLC; EP Properties,       )
          LLC; FL Acquisition Company; Norwell Television, )
          LLC; 867 Grand Avenue, LLC; and Unidentified      )
          Parties, 1-25.                                    )
                                      Defendants.           )

                               SUMMONS AND NOTICE OF PRETRIAL CONFERENCE
                                     IN AN ADVERSARY PROCEEDING

TO:       867 GRAND AVENUE LLC,
          c/o CT Corporation System Inc., 1010 Dale St. N., St. Paul, MN 55117-5603

YOU ARE SUMMONED and required to file a motion or answer to the complaint which is attached to this
summons with the clerk of the bankruptcy court within 30 days after the date of issuance of this summons, except
that the United States and its offices and agencies shall file a motion or answer to the complaint within 35 days.

                    Address of Clerk:
                                        824 Market Street, 3rd Floor
                                        Wilmington, DE 19801

At the same time, you must also serve a copy of the motion or answer upon the plaintiff’s attorney.

                    Name and Address of Plaintiff’s Attorney:
                                   Christopher Viceconte (No. 5568)
                                   Chantelle D. McClamb (No. 5978)
                                   GIBBONS P.C.
                                   300 Delaware Avenue, Suite 1015, Wilmington, DE 19801-1671

If you make a motion, your time to answer is governed by Fed. R. Bankr. P. 7012.

YOU ARE NOTIFIED that a pretrial conference of the proceeding commenced by the filing of the complaint will
be held at the following time and place.

                    Address                                            Courtroom: #3
                    824 N. Market St.
                    6th Floor                                          Date and Time: 12/21/2023 @ 2:00pm
                    Wilmington, DE 19801


1 The debtors in the above-captioned chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification number are:

ValueVision Media Acquisitions, Inc. (8670); iMedia Brands, Inc. (3770); ValueVision Interactive, Inc. (8730); Portal Acquisition Company
(3403); VVI Fulfillment Center, Inc. (5552); ValueVision Retail Inc. (2155); JWH Acquisition Company (3109); PW Acquisition Company,
LLC (0154); EP Properties, LLC (3951); FL Acquisition Company (3026); Norwell Television, LLC (6011); and 867 Grand Avenue, LLC
(2642). The Debtors’ service address is 6740 Shady Oak Road, Eden Prairie, MN 55344-3433.
                           Case 23-50753-KBO   Doc 3   Filed 11/09/23      Page 5 of 41




IF YOU FAIL TO RESPOND TO THIS SUMMONS, YOUR FAILURE WILL BE DEEMED TO BE YOUR
CONSENT TO ENTRY OF A JUDGMENT BY THE BANKRUPTCY COURT AND JUDGMENT BY DEFAULT
MAY BE TAKEN AGAINST YOU FOR THE RELIEF DEMANDED IN THE COMPLAINT.



United States Bankruptcy
 Court for the District
     of Delaware                                            /s/ Una O’Boyle
                                                        Clerk of the Bankruptcy Court
Date: November 7, 2023
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                EXHIBIT B
                          Case 23-50753-KBO                  Doc 3       Filed 11/09/23            Page 7 of 41


                                            United States Bankruptcy Court
                                                  District of Delaware
In re:    Legacy IMBDS, Inc., et al.,1                      )
                                    Debtor,                 )
                                                            )                    Case No.: 23-10852 (KBO)
          Synacor, Inc.,                                    )
                                      Plaintiff,            )                    Chapter: 11
                    v.                                      )
                                                            )
          IV Media, LLC; Innovation Ventures, LLC; Portal )                      Adv. Proc. No.: 23-50753
          Acquisition Co.; iMedia Brands, Inc.; ValueVision )
          Interactive, Inc.; VVI Fulfillment Center, Inc.;  )
          ValueVision Retail Inc.; JWH Acquisition Company; )
          PW Acquisition Company, LLC; EP Properties,       )
          LLC; FL Acquisition Company; Norwell Television, )
          LLC; 867 Grand Avenue, LLC; and Unidentified      )
          Parties, 1-25.                                    )
                                      Defendants.           )

                               SUMMONS AND NOTICE OF PRETRIAL CONFERENCE
                                     IN AN ADVERSARY PROCEEDING

TO:       EP PROPERTIES, LLC
          c/o James Alexander Wasserburger, iMedia Brands, Inc., 6740 Shady Oak Road,
          Eden Prairie, MN 55344

YOU ARE SUMMONED and required to file a motion or answer to the complaint which is attached to this
summons with the clerk of the bankruptcy court within 30 days after the date of issuance of this summons, except
that the United States and its offices and agencies shall file a motion or answer to the complaint within 35 days.

                    Address of Clerk:
                                        824 Market Street, 3rd Floor
                                        Wilmington, DE 19801

At the same time, you must also serve a copy of the motion or answer upon the plaintiff’s attorney.
                    Name and Address of Plaintiff’s Attorney:
                                   Christopher Viceconte (No. 5568)
                                   Chantelle D. McClamb (No. 5978)
                                   GIBBONS P.C.
                                   300 Delaware Avenue, Suite 1015, Wilmington, DE 19801-1671

If you make a motion, your time to answer is governed by Fed. R. Bankr. P. 7012.

YOU ARE NOTIFIED that a pretrial conference of the proceeding commenced by the filing of the complaint will
be held at the following time and place.

                    Address                                            Courtroom #3
                    824 N. Market St.
                    6th Floor                                          Date and Time 12/21/2023 @ 2:00 pm
                    Wilmington, DE 19801


1 The debtors in the above-captioned chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification number are:

ValueVision Media Acquisitions, Inc. (8670); iMedia Brands, Inc. (3770); ValueVision Interactive, Inc. (8730); Portal Acquisition Company
(3403); VVI Fulfillment Center, Inc. (5552); ValueVision Retail Inc. (2155); JWH Acquisition Company (3109); PW Acquisition Company,
LLC (0154); EP Properties, LLC (3951); FL Acquisition Company (3026); Norwell Television, LLC (6011); and 867 Grand Avenue, LLC
(2642). The Debtors’ service address is 6740 Shady Oak Road, Eden Prairie, MN 55344-3433.
                           Case 23-50753-KBO   Doc 3   Filed 11/09/23      Page 8 of 41



IF YOU FAIL TO RESPOND TO THIS SUMMONS, YOUR FAILURE WILL BE DEEMED TO BE YOUR
CONSENT TO ENTRY OF A JUDGMENT BY THE BANKRUPTCY COURT AND JUDGMENT BY DEFAULT
MAY BE TAKEN AGAINST YOU FOR THE RELIEF DEMANDED IN THE COMPLAINT.



United States Bankruptcy
 Court for the District
     of Delaware                                            /s/ Una O’Boyle
                                                        Clerk of the Bankruptcy Court
Date: November 7, 2023
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                EXHIBIT C
                         Case 23-50753-KBO                  Doc 3        Filed 11/09/23           Page 10 of 41


                                            United States Bankruptcy Court
                                                  District of Delaware
In re:    Legacy IMBDS, Inc., et al.,1                      )
                                    Debtor,                 )
                                                            )                    Case No.: 23-10852 (KBO)
          Synacor, Inc.,                                    )
                                      Plaintiff,            )                    Chapter: 11
                    v.                                      )
                                                            )
          IV Media, LLC; Innovation Ventures, LLC; Portal )                      Adv. Proc. No.: 23-50753
          Acquisition Co.; iMedia Brands, Inc.; ValueVision )
          Interactive, Inc.; VVI Fulfillment Center, Inc.;  )
          ValueVision Retail Inc.; JWH Acquisition Company; )
          PW Acquisition Company, LLC; EP Properties,       )
          LLC; FL Acquisition Company; Norwell Television, )
          LLC; 867 Grand Avenue, LLC; and Unidentified      )
          Parties, 1-25.                                    )
                                      Defendants.           )

                               SUMMONS AND NOTICE OF PRETRIAL CONFERENCE
                                     IN AN ADVERSARY PROCEEDING

TO:       FL ACQUISITION COMPANY
          c/o CT Corporation System Inc., 1010 Dale St. N., St. Paul, MN 55117-5603

YOU ARE SUMMONED and required to file a motion or answer to the complaint which is attached to this
summons with the clerk of the bankruptcy court within 30 days after the date of issuance of this summons, except
that the United States and its offices and agencies shall file a motion or answer to the complaint within 35 days.

                    Address of Clerk:
                                        824 Market Street, 3rd Floor
                                        Wilmington, DE 19801

At the same time, you must also serve a copy of the motion or answer upon the plaintiff’s attorney.

                    Name and Address of Plaintiff’s Attorney:
                                   Christopher Viceconte (No. 5568)
                                   Chantelle D. McClamb (No. 5978)
                                   GIBBONS P.C.
                                   300 Delaware Avenue, Suite 1015, Wilmington, DE 19801-1671

If you make a motion, your time to answer is governed by Fed. R. Bankr. P. 7012.

YOU ARE NOTIFIED that a pretrial conference of the proceeding commenced by the filing of the complaint will
be held at the following time and place.

                    Address                                            Courtroom: #3
                    824 N. Market St.
                    6th Floor                                          Date and Time: 12/21/2023 @ 2:00pm
                    Wilmington, DE 19801


1 The debtors in the above-captioned chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification number are:

ValueVision Media Acquisitions, Inc. (8670); iMedia Brands, Inc. (3770); ValueVision Interactive, Inc. (8730); Portal Acquisition Company
(3403); VVI Fulfillment Center, Inc. (5552); ValueVision Retail Inc. (2155); JWH Acquisition Company (3109); PW Acquisition Company,
LLC (0154); EP Properties, LLC (3951); FL Acquisition Company (3026); Norwell Television, LLC (6011); and 867 Grand Avenue, LLC
(2642). The Debtors’ service address is 6740 Shady Oak Road, Eden Prairie, MN 55344-3433.
                           Case 23-50753-KBO   Doc 3   Filed 11/09/23     Page 11 of 41




IF YOU FAIL TO RESPOND TO THIS SUMMONS, YOUR FAILURE WILL BE DEEMED TO BE YOUR
CONSENT TO ENTRY OF A JUDGMENT BY THE BANKRUPTCY COURT AND JUDGMENT BY DEFAULT
MAY BE TAKEN AGAINST YOU FOR THE RELIEF DEMANDED IN THE COMPLAINT.



United States Bankruptcy
 Court for the District
     of Delaware                                            /s/ Una O’Boyle
                                                        Clerk of the Bankruptcy Court
Date: November 7, 2023
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                EXHIBIT D
                         Case 23-50753-KBO                  Doc 3        Filed 11/09/23           Page 13 of 41


                                            United States Bankruptcy Court
                                                  District of Delaware
In re:    Legacy IMBDS, Inc., et al.,1                      )
                                    Debtor,                 )
                                                            )                    Case No.: 23-10852 (KBO)
          Synacor, Inc.,                                    )
                                      Plaintiff,            )                    Chapter: 11
                    v.                                      )
                                                            )
          IV Media, LLC; Innovation Ventures, LLC; Portal )                      Adv. Proc. No.:23-50753
          Acquisition Co.; iMedia Brands, Inc.; ValueVision )
          Interactive, Inc.; VVI Fulfillment Center, Inc.;  )
          ValueVision Retail Inc.; JWH Acquisition Company; )
          PW Acquisition Company, LLC; EP Properties,       )
          LLC; FL Acquisition Company; Norwell Television, )
          LLC; 867 Grand Avenue, LLC; and Unidentified      )
          Parties, 1-25.                                    )
                                      Defendants.           )

                               SUMMONS AND NOTICE OF PRETRIAL CONFERENCE
                                     IN AN ADVERSARY PROCEEDING

TO:       IMEDIA BRANDS, INC.,
          c/o CT Corporation System Inc., 120 South Central Avenue, Clayton, MO 63105

YOU ARE SUMMONED and required to file a motion or answer to the complaint which is attached to this
summons with the clerk of the bankruptcy court within 30 days after the date of issuance of this summons, except
that the United States and its offices and agencies shall file a motion or answer to the complaint within 35 days.

                    Address of Clerk:
                                        824 Market Street, 3rd Floor
                                        Wilmington, DE 19801

At the same time, you must also serve a copy of the motion or answer upon the plaintiff’s attorney.

                    Name and Address of Plaintiff’s Attorney:
                                   Christopher Viceconte (No. 5568)
                                   Chantelle D. McClamb (No. 5978)
                                   GIBBONS P.C.
                                   300 Delaware Avenue, Suite 1015, Wilmington, DE 19801-1671

If you make a motion, your time to answer is governed by Fed. R. Bankr. P. 7012.

YOU ARE NOTIFIED that a pretrial conference of the proceeding commenced by the filing of the complaint will
be held at the following time and place.

                    Address                                            Courtroom: #3
                    824 N. Market St.
                    6th Floor                                          Date and Time: 12/21/2023 @ 2:00pm
                    Wilmington, DE 19801


1 The debtors in the above-captioned chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification number are:

ValueVision Media Acquisitions, Inc. (8670); iMedia Brands, Inc. (3770); ValueVision Interactive, Inc. (8730); Portal Acquisition Company
(3403); VVI Fulfillment Center, Inc. (5552); ValueVision Retail Inc. (2155); JWH Acquisition Company (3109); PW Acquisition Company,
LLC (0154); EP Properties, LLC (3951); FL Acquisition Company (3026); Norwell Television, LLC (6011); and 867 Grand Avenue, LLC
(2642). The Debtors’ service address is 6740 Shady Oak Road, Eden Prairie, MN 55344-3433.
                           Case 23-50753-KBO   Doc 3   Filed 11/09/23     Page 14 of 41




IF YOU FAIL TO RESPOND TO THIS SUMMONS, YOUR FAILURE WILL BE DEEMED TO BE YOUR
CONSENT TO ENTRY OF A JUDGMENT BY THE BANKRUPTCY COURT AND JUDGMENT BY DEFAULT
MAY BE TAKEN AGAINST YOU FOR THE RELIEF DEMANDED IN THE COMPLAINT.



United States Bankruptcy
 Court for the District
     of Delaware                                            /s/ Una O’Boyle
                                                        Clerk of the Bankruptcy Court
Date: November 7, 2023
Case 23-50753-KBO   Doc 3   Filed 11/09/23   Page 15 of 41




                EXHIBIT E
                         Case 23-50753-KBO                  Doc 3        Filed 11/09/23           Page 16 of 41


                                            United States Bankruptcy Court
                                                  District of Delaware
In re:    Legacy IMBDS, Inc., et al.,1                      )
                                    Debtor,                 )
                                                            )                    Case No.: 23-10852 (KBO)
          Synacor, Inc.,                                    )
                                      Plaintiff,            )                    Chapter: 11
                    v.                                      )
                                                            )
          IV Media, LLC; Innovation Ventures, LLC; Portal )                      Adv. Proc. No.: 23-50753
          Acquisition Co.; iMedia Brands, Inc.; ValueVision )
          Interactive, Inc.; VVI Fulfillment Center, Inc.;  )
          ValueVision Retail Inc.; JWH Acquisition Company; )
          PW Acquisition Company, LLC; EP Properties,       )
          LLC; FL Acquisition Company; Norwell Television, )
          LLC; 867 Grand Avenue, LLC; and Unidentified      )
          Parties, 1-25.                                    )
                                      Defendants.           )

                               SUMMONS AND NOTICE OF PRETRIAL CONFERENCE
                                     IN AN ADVERSARY PROCEEDING

TO:       INNOVATION VENTURES, LLC,
          c/o Shawn McCue, 38955 Hills Tech Drive, Farmington Hills, MI 48331

YOU ARE SUMMONED and required to file a motion or answer to the complaint which is attached to this
summons with the clerk of the bankruptcy court within 30 days after the date of issuance of this summons, except
that the United States and its offices and agencies shall file a motion or answer to the complaint within 35 days.

                    Address of Clerk:
                                        824 Market Street, 3rd Floor
                                        Wilmington, DE 19801

At the same time, you must also serve a copy of the motion or answer upon the plaintiff’s attorney.

                    Name and Address of Plaintiff’s Attorney:
                                   Christopher Viceconte (No. 5568)
                                   Chantelle D. McClamb (No. 5978)
                                   GIBBONS P.C.
                                   300 Delaware Avenue, Suite 1015, Wilmington, DE 19801-1671

If you make a motion, your time to answer is governed by Fed. R. Bankr. P. 7012.

YOU ARE NOTIFIED that a pretrial conference of the proceeding commenced by the filing of the complaint will
be held at the following time and place.

                    Address                                            Courtroom: #3
                    824 N. Market St.
                    6th Floor                                          Date and Time: 12/21/2023 @ 2:00pm
                    Wilmington, DE 19801


1 The debtors in the above-captioned chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification number are:

ValueVision Media Acquisitions, Inc. (8670); iMedia Brands, Inc. (3770); ValueVision Interactive, Inc. (8730); Portal Acquisition Company
(3403); VVI Fulfillment Center, Inc. (5552); ValueVision Retail Inc. (2155); JWH Acquisition Company (3109); PW Acquisition Company,
LLC (0154); EP Properties, LLC (3951); FL Acquisition Company (3026); Norwell Television, LLC (6011); and 867 Grand Avenue, LLC
(2642). The Debtors’ service address is 6740 Shady Oak Road, Eden Prairie, MN 55344-3433.
                           Case 23-50753-KBO   Doc 3   Filed 11/09/23     Page 17 of 41




IF YOU FAIL TO RESPOND TO THIS SUMMONS, YOUR FAILURE WILL BE DEEMED TO BE YOUR
CONSENT TO ENTRY OF A JUDGMENT BY THE BANKRUPTCY COURT AND JUDGMENT BY DEFAULT
MAY BE TAKEN AGAINST YOU FOR THE RELIEF DEMANDED IN THE COMPLAINT.



United States Bankruptcy
 Court for the District
     of Delaware                                            /s/ Una O’Boyle
                                                        Clerk of the Bankruptcy Court
Date: November 7, 2023
Case 23-50753-KBO   Doc 3   Filed 11/09/23   Page 18 of 41




                EXHIBIT F
                         Case 23-50753-KBO                  Doc 3        Filed 11/09/23           Page 19 of 41


                                            United States Bankruptcy Court
                                                  District of Delaware
In re:    Legacy IMBDS, Inc., et al.,1                      )
                                    Debtor,                 )
                                                            )                    Case No.: 23-10852 (KBO)
          Synacor, Inc.,                                    )
                                      Plaintiff,            )                    Chapter: 11
                    v.                                      )
                                                            )
          IV Media, LLC; Innovation Ventures, LLC; Portal )                      Adv. Proc. No.: 23-50753
          Acquisition Co.; iMedia Brands, Inc.; ValueVision )
          Interactive, Inc.; VVI Fulfillment Center, Inc.;  )
          ValueVision Retail Inc.; JWH Acquisition Company; )
          PW Acquisition Company, LLC; EP Properties,       )
          LLC; FL Acquisition Company; Norwell Television, )
          LLC; 867 Grand Avenue, LLC; and Unidentified      )
          Parties, 1-25.                                    )
                                      Defendants.           )

                               SUMMONS AND NOTICE OF PRETRIAL CONFERENCE
                                     IN AN ADVERSARY PROCEEDING

TO:       IV MEDIA, LLC,
          c/o Oakland Law Group, PLLC,
          38955 Hills Tech Drive, Farmington Hills, MI 48331

YOU ARE SUMMONED and required to file a motion or answer to the complaint which is attached to this
summons with the clerk of the bankruptcy court within 30 days after the date of issuance of this summons, except
that the United States and its offices and agencies shall file a motion or answer to the complaint within 35 days.

                    Address of Clerk:
                                        824 Market Street, 3rd Floor
                                        Wilmington, DE 19801

At the same time, you must also serve a copy of the motion or answer upon the plaintiff’s attorney.

                    Name and Address of Plaintiff’s Attorney:
                                   Christopher Viceconte (No. 5568)
                                   Chantelle D. McClamb (No. 5978)
                                   GIBBONS P.C.
                                   300 Delaware Avenue, Suite 1015, Wilmington, DE 19801-1671

If you make a motion, your time to answer is governed by Fed. R. Bankr. P. 7012.

YOU ARE NOTIFIED that a pretrial conference of the proceeding commenced by the filing of the complaint will
be held at the following time and place.

                    Address                                            Courtroom: #3
                    824 N. Market St.
                    6th Floor                                          Date and Time: 12/21/2023 @ 2:00pm
                    Wilmington, DE 19801

1 The debtors in the above-captioned chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification number are:

ValueVision Media Acquisitions, Inc. (8670); iMedia Brands, Inc. (3770); ValueVision Interactive, Inc. (8730); Portal Acquisition Company
(3403); VVI Fulfillment Center, Inc. (5552); ValueVision Retail Inc. (2155); JWH Acquisition Company (3109); PW Acquisition Company,
LLC (0154); EP Properties, LLC (3951); FL Acquisition Company (3026); Norwell Television, LLC (6011); and 867 Grand Avenue, LLC
(2642). The Debtors’ service address is 6740 Shady Oak Road, Eden Prairie, MN 55344-3433.
                           Case 23-50753-KBO   Doc 3   Filed 11/09/23     Page 20 of 41




IF YOU FAIL TO RESPOND TO THIS SUMMONS, YOUR FAILURE WILL BE DEEMED TO BE YOUR
CONSENT TO ENTRY OF A JUDGMENT BY THE BANKRUPTCY COURT AND JUDGMENT BY DEFAULT
MAY BE TAKEN AGAINST YOU FOR THE RELIEF DEMANDED IN THE COMPLAINT.



United States Bankruptcy
 Court for the District
     of Delaware                                            /s/ Una O’Boyle
                                                        Clerk of the Bankruptcy Court
Date: November 7, 2023
Case 23-50753-KBO   Doc 3   Filed 11/09/23   Page 21 of 41




                EXHIBIT G
                         Case 23-50753-KBO                  Doc 3        Filed 11/09/23           Page 22 of 41


                                            United States Bankruptcy Court
                                                  District of Delaware
In re:    Legacy IMBDS, Inc., et al.,1                      )
                                    Debtor,                 )
                                                            )                    Case No.: 23-10852 (KBO)
          Synacor, Inc.,                                    )
                                      Plaintiff,            )                    Chapter: 11
                    v.                                      )
                                                            )
          IV Media, LLC; Innovation Ventures, LLC; Portal )                      Adv. Proc. No.:23-50753
          Acquisition Co.; iMedia Brands, Inc.; ValueVision )
          Interactive, Inc.; VVI Fulfillment Center, Inc.;  )
          ValueVision Retail Inc.; JWH Acquisition Company; )
          PW Acquisition Company, LLC; EP Properties,       )
          LLC; FL Acquisition Company; Norwell Television, )
          LLC; 867 Grand Avenue, LLC; and Unidentified      )
          Parties, 1-25.                                    )
                                      Defendants.           )

                               SUMMONS AND NOTICE OF PRETRIAL CONFERENCE
                                     IN AN ADVERSARY PROCEEDING

TO:       JWH ACQUISITION COMPANY,
          c/o CT Corporation System Inc., 1010 Dale St. N., St. Paul, MN 55117-5603

YOU ARE SUMMONED and required to file a motion or answer to the complaint which is attached to this
summons with the clerk of the bankruptcy court within 30 days after the date of issuance of this summons, except
that the United States and its offices and agencies shall file a motion or answer to the complaint within 35 days.

                    Address of Clerk:
                                        824 Market Street, 3rd Floor
                                        Wilmington, DE 19801

At the same time, you must also serve a copy of the motion or answer upon the plaintiff’s attorney.

                    Name and Address of Plaintiff’s Attorney:
                                   Christopher Viceconte (No. 5568)
                                   Chantelle D. McClamb (No. 5978)
                                   GIBBONS P.C.
                                   300 Delaware Avenue, Suite 1015, Wilmington, DE 19801-1671

If you make a motion, your time to answer is governed by Fed. R. Bankr. P. 7012.

YOU ARE NOTIFIED that a pretrial conference of the proceeding commenced by the filing of the complaint will
be held at the following time and place.

                    Address                                            Courtroom: #3
                    824 N. Market St.
                    6th Floor                                          Date and Time: 12/21/2023 @ 2:00pm
                    Wilmington, DE 19801


1 The debtors in the above-captioned chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification number are:

ValueVision Media Acquisitions, Inc. (8670); iMedia Brands, Inc. (3770); ValueVision Interactive, Inc. (8730); Portal Acquisition Company
(3403); VVI Fulfillment Center, Inc. (5552); ValueVision Retail Inc. (2155); JWH Acquisition Company (3109); PW Acquisition Company,
LLC (0154); EP Properties, LLC (3951); FL Acquisition Company (3026); Norwell Television, LLC (6011); and 867 Grand Avenue, LLC
(2642). The Debtors’ service address is 6740 Shady Oak Road, Eden Prairie, MN 55344-3433.
                           Case 23-50753-KBO   Doc 3   Filed 11/09/23     Page 23 of 41




IF YOU FAIL TO RESPOND TO THIS SUMMONS, YOUR FAILURE WILL BE DEEMED TO BE YOUR
CONSENT TO ENTRY OF A JUDGMENT BY THE BANKRUPTCY COURT AND JUDGMENT BY DEFAULT
MAY BE TAKEN AGAINST YOU FOR THE RELIEF DEMANDED IN THE COMPLAINT.



United States Bankruptcy
 Court for the District
     of Delaware                                            /s/ Una O’Boyle
                                                        Clerk of the Bankruptcy Court
Date: November 7, 2023
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                EXHIBIT H
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                                            United States Bankruptcy Court
                                                  District of Delaware
In re:    Legacy IMBDS, Inc., et al.,1                      )
                                    Debtor,                 )
                                                            )                    Case No.: 23-10852 (KBO)
          Synacor, Inc.,                                    )
                                      Plaintiff,            )                    Chapter: 11
                    v.                                      )
                                                            )
          IV Media, LLC; Innovation Ventures, LLC; Portal )                      Adv. Proc. No.: 23-50753
          Acquisition Co.; iMedia Brands, Inc.; ValueVision )
          Interactive, Inc.; VVI Fulfillment Center, Inc.;  )
          ValueVision Retail Inc.; JWH Acquisition Company; )
          PW Acquisition Company, LLC; EP Properties,       )
          LLC; FL Acquisition Company; Norwell Television, )
          LLC; 867 Grand Avenue, LLC; and Unidentified      )
          Parties, 1-25.                                    )
                                      Defendants.           )

                               SUMMONS AND NOTICE OF PRETRIAL CONFERENCE
                                     IN AN ADVERSARY PROCEEDING

TO:       NORWELL TELEVISION, LLC,
          c/o CT Corporation System, 155 Federal Street, Suite 700, Boston, MA 02110

YOU ARE SUMMONED and required to file a motion or answer to the complaint which is attached to this
summons with the clerk of the bankruptcy court within 30 days after the date of issuance of this summons, except
that the United States and its offices and agencies shall file a motion or answer to the complaint within 35 days.

                    Address of Clerk:
                                        824 Market Street, 3rd Floor
                                        Wilmington, DE 19801

At the same time, you must also serve a copy of the motion or answer upon the plaintiff’s attorney.

                    Name and Address of Plaintiff’s Attorney:
                                   Christopher Viceconte (No. 5568)
                                   Chantelle D. McClamb (No. 5978)
                                   GIBBONS P.C.
                                   300 Delaware Avenue, Suite 1015, Wilmington, DE 19801-1671

If you make a motion, your time to answer is governed by Fed. R. Bankr. P. 7012.

YOU ARE NOTIFIED that a pretrial conference of the proceeding commenced by the filing of the complaint will
be held at the following time and place.

                    Address                                            Courtroom: #3
                    824 N. Market St.
                    6th Floor                                          Date and Time: 12/21/2023 @ 2:00pm
                    Wilmington, DE 19801


1 The debtors in the above-captioned chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification number are:

ValueVision Media Acquisitions, Inc. (8670); iMedia Brands, Inc. (3770); ValueVision Interactive, Inc. (8730); Portal Acquisition Company
(3403); VVI Fulfillment Center, Inc. (5552); ValueVision Retail Inc. (2155); JWH Acquisition Company (3109); PW Acquisition Company,
LLC (0154); EP Properties, LLC (3951); FL Acquisition Company (3026); Norwell Television, LLC (6011); and 867 Grand Avenue, LLC
(2642). The Debtors’ service address is 6740 Shady Oak Road, Eden Prairie, MN 55344-3433.
                           Case 23-50753-KBO   Doc 3   Filed 11/09/23     Page 26 of 41




IF YOU FAIL TO RESPOND TO THIS SUMMONS, YOUR FAILURE WILL BE DEEMED TO BE YOUR
CONSENT TO ENTRY OF A JUDGMENT BY THE BANKRUPTCY COURT AND JUDGMENT BY DEFAULT
MAY BE TAKEN AGAINST YOU FOR THE RELIEF DEMANDED IN THE COMPLAINT.



United States Bankruptcy
 Court for the District
     of Delaware                                            /s/ Una O’Boyle
                                                        Clerk of the Bankruptcy Court
Date: November 7, 2023
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                    EXHIBIT I
                         Case 23-50753-KBO                  Doc 3        Filed 11/09/23           Page 28 of 41


                                            United States Bankruptcy Court
                                                  District of Delaware
In re:    Legacy IMBDS, Inc., et al.,1                      )
                                    Debtor,                 )
                                                            )                    Case No.: 23-10852 (KBO)
          Synacor, Inc.,                                    )
                                      Plaintiff,            )                    Chapter: 11
                    v.                                      )
                                                            )
          IV Media, LLC; Innovation Ventures, LLC; Portal )                      Adv. Proc. No.: 23-50753
          Acquisition Co.; iMedia Brands, Inc.; ValueVision )
          Interactive, Inc.; VVI Fulfillment Center, Inc.;  )
          ValueVision Retail Inc.; JWH Acquisition Company; )
          PW Acquisition Company, LLC; EP Properties,       )
          LLC; FL Acquisition Company; Norwell Television, )
          LLC; 867 Grand Avenue, LLC; and Unidentified      )
          Parties, 1-25.                                    )
                                      Defendants.           )

                               SUMMONS AND NOTICE OF PRETRIAL CONFERENCE
                                     IN AN ADVERSARY PROCEEDING

TO:       PORTAL ACQUISITION COMPANY,
          c/o Timothy Peterman, CEO, 6740 Shady Oak Road, Eden Prairie, MN 55344

YOU ARE SUMMONED and required to file a motion or answer to the complaint which is attached to this
summons with the clerk of the bankruptcy court within 30 days after the date of issuance of this summons, except
that the United States and its offices and agencies shall file a motion or answer to the complaint within 35 days.

                    Address of Clerk:
                                        824 Market Street, 3rd Floor
                                        Wilmington, DE 19801

At the same time, you must also serve a copy of the motion or answer upon the plaintiff’s attorney.

                    Name and Address of Plaintiff’s Attorney:
                                   Christopher Viceconte (No. 5568)
                                   Chantelle D. McClamb (No. 5978)
                                   GIBBONS P.C.
                                   300 Delaware Avenue, Suite 1015, Wilmington, DE 19801-1671

If you make a motion, your time to answer is governed by Fed. R. Bankr. P. 7012.

YOU ARE NOTIFIED that a pretrial conference of the proceeding commenced by the filing of the complaint will
be held at the following time and place.

                    Address                                            Courtroom: #3
                    824 N. Market St.
                    6th Floor                                          Date and Time: 12/21/2023 @ 2:00pm
                    Wilmington, DE 19801


1 The debtors in the above-captioned chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification number are:

ValueVision Media Acquisitions, Inc. (8670); iMedia Brands, Inc. (3770); ValueVision Interactive, Inc. (8730); Portal Acquisition Company
(3403); VVI Fulfillment Center, Inc. (5552); ValueVision Retail Inc. (2155); JWH Acquisition Company (3109); PW Acquisition Company,
LLC (0154); EP Properties, LLC (3951); FL Acquisition Company (3026); Norwell Television, LLC (6011); and 867 Grand Avenue, LLC
(2642). The Debtors’ service address is 6740 Shady Oak Road, Eden Prairie, MN 55344-3433.
                           Case 23-50753-KBO   Doc 3   Filed 11/09/23     Page 29 of 41




IF YOU FAIL TO RESPOND TO THIS SUMMONS, YOUR FAILURE WILL BE DEEMED TO BE YOUR
CONSENT TO ENTRY OF A JUDGMENT BY THE BANKRUPTCY COURT AND JUDGMENT BY DEFAULT
MAY BE TAKEN AGAINST YOU FOR THE RELIEF DEMANDED IN THE COMPLAINT.



United States Bankruptcy
 Court for the District
     of Delaware                                            /s/ Una O’Boyle
                                                        Clerk of the Bankruptcy Court
Date: November 7, 2023
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                EXHIBIT J
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                                            United States Bankruptcy Court
                                                  District of Delaware
In re:    Legacy IMBDS, Inc., et al.,1                      )
                                    Debtor,                 )
                                                            )                    Case No.: 23-10852 (KBO)
          Synacor, Inc.,                                    )
                                      Plaintiff,            )                    Chapter: 11
                    v.                                      )
                                                            )
          IV Media, LLC; Innovation Ventures, LLC; Portal )                      Adv. Proc. No.: 23-50753
          Acquisition Co.; iMedia Brands, Inc.; ValueVision )
          Interactive, Inc.; VVI Fulfillment Center, Inc.;  )
          ValueVision Retail Inc.; JWH Acquisition Company; )
          PW Acquisition Company, LLC; EP Properties,       )
          LLC; FL Acquisition Company; Norwell Television, )
          LLC; 867 Grand Avenue, LLC; and Unidentified      )
          Parties, 1-25.                                    )
                                      Defendants.           )

                               SUMMONS AND NOTICE OF PRETRIAL CONFERENCE
                                     IN AN ADVERSARY PROCEEDING

TO:       PW ACQUISITION COMPANY, LLC,
          c/o CT Corporation System Inc., 1010 Dale St. N., St. Paul, MN 55117-5603

YOU ARE SUMMONED and required to file a motion or answer to the complaint which is attached to this
summons with the clerk of the bankruptcy court within 30 days after the date of issuance of this summons, except
that the United States and its offices and agencies shall file a motion or answer to the complaint within 35 days.

                    Address of Clerk:
                                        824 Market Street, 3rd Floor
                                        Wilmington, DE 19801

At the same time, you must also serve a copy of the motion or answer upon the plaintiff’s attorney.

                    Name and Address of Plaintiff’s Attorney:
                                   Christopher Viceconte (No. 5568)
                                   Chantelle D. McClamb (No. 5978)
                                   GIBBONS P.C.
                                   300 Delaware Avenue, Suite 1015, Wilmington, DE 19801-1671

If you make a motion, your time to answer is governed by Fed. R. Bankr. P. 7012.

YOU ARE NOTIFIED that a pretrial conference of the proceeding commenced by the filing of the complaint will
be held at the following time and place.

                    Address                                            Courtroom: #3
                    824 N. Market St.
                    6th Floor                                          Date and Time: 12/21/2023 @ 2:00pm
                    Wilmington, DE 19801


1 The debtors in the above-captioned chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification number are:

ValueVision Media Acquisitions, Inc. (8670); iMedia Brands, Inc. (3770); ValueVision Interactive, Inc. (8730); Portal Acquisition Company
(3403); VVI Fulfillment Center, Inc. (5552); ValueVision Retail Inc. (2155); JWH Acquisition Company (3109); PW Acquisition Company,
LLC (0154); EP Properties, LLC (3951); FL Acquisition Company (3026); Norwell Television, LLC (6011); and 867 Grand Avenue, LLC
(2642). The Debtors’ service address is 6740 Shady Oak Road, Eden Prairie, MN 55344-3433.
                           Case 23-50753-KBO   Doc 3   Filed 11/09/23     Page 32 of 41




IF YOU FAIL TO RESPOND TO THIS SUMMONS, YOUR FAILURE WILL BE DEEMED TO BE YOUR
CONSENT TO ENTRY OF A JUDGMENT BY THE BANKRUPTCY COURT AND JUDGMENT BY DEFAULT
MAY BE TAKEN AGAINST YOU FOR THE RELIEF DEMANDED IN THE COMPLAINT.



United States Bankruptcy
 Court for the District
     of Delaware                                            /s/ Una O’Boyle
                                                        Clerk of the Bankruptcy Court
Date: November 7, 2023
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                EXHIBIT K
                         Case 23-50753-KBO                  Doc 3        Filed 11/09/23           Page 34 of 41


                                            United States Bankruptcy Court
                                                  District of Delaware
In re:    Legacy IMBDS, Inc., et al.,1                      )
                                    Debtor,                 )
                                                            )                    Case No.: 23-10852 (KBO)
          Synacor, Inc.,                                    )
                                      Plaintiff,            )                    Chapter: 11
                    v.                                      )
                                                            )
          IV Media, LLC; Innovation Ventures, LLC; Portal )                      Adv. Proc. No.: 23-50753
          Acquisition Co.; iMedia Brands, Inc.; ValueVision )
          Interactive, Inc.; VVI Fulfillment Center, Inc.;  )
          ValueVision Retail Inc.; JWH Acquisition Company; )
          PW Acquisition Company, LLC; EP Properties,       )
          LLC; FL Acquisition Company; Norwell Television, )
          LLC; 867 Grand Avenue, LLC; and Unidentified      )
          Parties, 1-25.                                    )
                                      Defendants.           )

                               SUMMONS AND NOTICE OF PRETRIAL CONFERENCE
                                     IN AN ADVERSARY PROCEEDING

TO:       VALUEVISION INTERACTIVE, INC.,
          c/o CT Corporation System Inc., 1010 Dale St. N., St. Paul, MN 55117-5603

YOU ARE SUMMONED and required to file a motion or answer to the complaint which is attached to this
summons with the clerk of the bankruptcy court within 30 days after the date of issuance of this summons, except
that the United States and its offices and agencies shall file a motion or answer to the complaint within 35 days.

                    Address of Clerk:
                                        824 Market Street, 3rd Floor
                                        Wilmington, DE 19801

At the same time, you must also serve a copy of the motion or answer upon the plaintiff’s attorney.

                    Name and Address of Plaintiff’s Attorney:
                                   Christopher Viceconte (No. 5568)
                                   Chantelle D. McClamb (No. 5978)
                                   GIBBONS P.C.
                                   300 Delaware Avenue, Suite 1015, Wilmington, DE 19801-1671

If you make a motion, your time to answer is governed by Fed. R. Bankr. P. 7012.

YOU ARE NOTIFIED that a pretrial conference of the proceeding commenced by the filing of the complaint will
be held at the following time and place.

                    Address                                            Courtroom: #3
                    824 N. Market St.
                    6th Floor                                          Date and Time: 12/21/2023 @ 2:00pm
                    Wilmington, DE 19801


1 The debtors in the above-captioned chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification number are:

ValueVision Media Acquisitions, Inc. (8670); iMedia Brands, Inc. (3770); ValueVision Interactive, Inc. (8730); Portal Acquisition Company
(3403); VVI Fulfillment Center, Inc. (5552); ValueVision Retail Inc. (2155); JWH Acquisition Company (3109); PW Acquisition Company,
LLC (0154); EP Properties, LLC (3951); FL Acquisition Company (3026); Norwell Television, LLC (6011); and 867 Grand Avenue, LLC
(2642). The Debtors’ service address is 6740 Shady Oak Road, Eden Prairie, MN 55344-3433.
                           Case 23-50753-KBO   Doc 3   Filed 11/09/23     Page 35 of 41




IF YOU FAIL TO RESPOND TO THIS SUMMONS, YOUR FAILURE WILL BE DEEMED TO BE YOUR
CONSENT TO ENTRY OF A JUDGMENT BY THE BANKRUPTCY COURT AND JUDGMENT BY DEFAULT
MAY BE TAKEN AGAINST YOU FOR THE RELIEF DEMANDED IN THE COMPLAINT.



United States Bankruptcy
 Court for the District
     of Delaware                                            /s/ Una O’Boyle
                                                        Clerk of the Bankruptcy Court
Date: November 7, 2023
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                EXHIBIT L
                         Case 23-50753-KBO                  Doc 3        Filed 11/09/23           Page 37 of 41


                                            United States Bankruptcy Court
                                                  District of Delaware
In re:    Legacy IMBDS, Inc., et al.,1                      )
                                    Debtor,                 )
                                                            )                    Case No.: 23-10852 (KBO)
          Synacor, Inc.,                                    )
                                      Plaintiff,            )                    Chapter: 11
                    v.                                      )
                                                            )
          IV Media, LLC; Innovation Ventures, LLC; Portal )                      Adv. Proc. No.: 23-50753
          Acquisition Co.; iMedia Brands, Inc.; ValueVision )
          Interactive, Inc.; VVI Fulfillment Center, Inc.;  )
          ValueVision Retail Inc.; JWH Acquisition Company; )
          PW Acquisition Company, LLC; EP Properties,       )
          LLC; FL Acquisition Company; Norwell Television, )
          LLC; 867 Grand Avenue, LLC; and Unidentified      )
          Parties, 1-25.                                    )
                                      Defendants.           )

                               SUMMONS AND NOTICE OF PRETRIAL CONFERENCE
                                     IN AN ADVERSARY PROCEEDING

TO:       VALUEVISION RETAIL, INC.,
          c/o CT Corporation System Inc., 1010 Dale St. N., St. Paul, MN 55117-5603

YOU ARE SUMMONED and required to file a motion or answer to the complaint which is attached to this
summons with the clerk of the bankruptcy court within 30 days after the date of issuance of this summons, except
that the United States and its offices and agencies shall file a motion or answer to the complaint within 35 days.

                    Address of Clerk:
                                        824 Market Street, 3rd Floor
                                        Wilmington, DE 19801

At the same time, you must also serve a copy of the motion or answer upon the plaintiff’s attorney.

                    Name and Address of Plaintiff’s Attorney:
                                   Christopher Viceconte (No. 5568)
                                   Chantelle D. McClamb (No. 5978)
                                   GIBBONS P.C.
                                   300 Delaware Avenue, Suite 1015, Wilmington, DE 19801-1671

If you make a motion, your time to answer is governed by Fed. R. Bankr. P. 7012.

YOU ARE NOTIFIED that a pretrial conference of the proceeding commenced by the filing of the complaint will
be held at the following time and place.

                    Address                                            Courtroom: #3
                    824 N. Market St.
                    6th Floor                                          Date and Time: 12/21/2023 @ 2:00pm
                    Wilmington, DE 19801


1 The debtors in the above-captioned chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification number are:

ValueVision Media Acquisitions, Inc. (8670); iMedia Brands, Inc. (3770); ValueVision Interactive, Inc. (8730); Portal Acquisition Company
(3403); VVI Fulfillment Center, Inc. (5552); ValueVision Retail Inc. (2155); JWH Acquisition Company (3109); PW Acquisition Company,
LLC (0154); EP Properties, LLC (3951); FL Acquisition Company (3026); Norwell Television, LLC (6011); and 867 Grand Avenue, LLC
(2642). The Debtors’ service address is 6740 Shady Oak Road, Eden Prairie, MN 55344-3433.
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IF YOU FAIL TO RESPOND TO THIS SUMMONS, YOUR FAILURE WILL BE DEEMED TO BE YOUR
CONSENT TO ENTRY OF A JUDGMENT BY THE BANKRUPTCY COURT AND JUDGMENT BY DEFAULT
MAY BE TAKEN AGAINST YOU FOR THE RELIEF DEMANDED IN THE COMPLAINT.



United States Bankruptcy
 Court for the District
     of Delaware                                            /s/ Una O’Boyle
                                                        Clerk of the Bankruptcy Court
Date: November 7, 2023
Case 23-50753-KBO   Doc 3   Filed 11/09/23   Page 39 of 41




                EXHIBIT M
                         Case 23-50753-KBO                  Doc 3        Filed 11/09/23           Page 40 of 41


                                            United States Bankruptcy Court
                                                  District of Delaware
In re:    Legacy IMBDS, Inc., et al.,1                      )
                                    Debtor,                 )
                                                            )                    Case No.: 23-10852 (KBO)
          Synacor, Inc.,                                    )
                                      Plaintiff,            )                    Chapter: 11
                    v.                                      )
                                                            )
          IV Media, LLC; Innovation Ventures, LLC; Portal )                      Adv. Proc. No.: 23-50753
          Acquisition Co.; iMedia Brands, Inc.; ValueVision )
          Interactive, Inc.; VVI Fulfillment Center, Inc.;  )
          ValueVision Retail Inc.; JWH Acquisition Company; )
          PW Acquisition Company, LLC; EP Properties,       )
          LLC; FL Acquisition Company; Norwell Television, )
          LLC; 867 Grand Avenue, LLC; and Unidentified      )
          Parties, 1-25.                                    )
                                      Defendants.           )

                               SUMMONS AND NOTICE OF PRETRIAL CONFERENCE
                                     IN AN ADVERSARY PROCEEDING

TO:       VVI FULFILLMENT CENTER, INC.,
          c/o CT Corporation System Inc., 1010 Dale St. N., St. Paul, MN 55117-5603

YOU ARE SUMMONED and required to file a motion or answer to the complaint which is attached to this
summons with the clerk of the bankruptcy court within 30 days after the date of issuance of this summons, except
that the United States and its offices and agencies shall file a motion or answer to the complaint within 35 days.

                    Address of Clerk:
                                        824 Market Street, 3rd Floor
                                        Wilmington, DE 19801

At the same time, you must also serve a copy of the motion or answer upon the plaintiff’s attorney.

                    Name and Address of Plaintiff’s Attorney:
                                   Christopher Viceconte (No. 5568)
                                   Chantelle D. McClamb (No. 5978)
                                   GIBBONS P.C.
                                   300 Delaware Avenue, Suite 1015, Wilmington, DE 19801-1671

If you make a motion, your time to answer is governed by Fed. R. Bankr. P. 7012.

YOU ARE NOTIFIED that a pretrial conference of the proceeding commenced by the filing of the complaint will
be held at the following time and place.

                    Address                                            Courtroom: #3
                    824 N. Market St.
                    6th Floor                                          Date and Time: 12/21/2023 @ 2:00 pm
                    Wilmington, DE 19801


1 The debtors in the above-captioned chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification number are:

ValueVision Media Acquisitions, Inc. (8670); iMedia Brands, Inc. (3770); ValueVision Interactive, Inc. (8730); Portal Acquisition Company
(3403); VVI Fulfillment Center, Inc. (5552); ValueVision Retail Inc. (2155); JWH Acquisition Company (3109); PW Acquisition Company,
LLC (0154); EP Properties, LLC (3951); FL Acquisition Company (3026); Norwell Television, LLC (6011); and 867 Grand Avenue, LLC
(2642). The Debtors’ service address is 6740 Shady Oak Road, Eden Prairie, MN 55344-3433.
                           Case 23-50753-KBO   Doc 3   Filed 11/09/23     Page 41 of 41




IF YOU FAIL TO RESPOND TO THIS SUMMONS, YOUR FAILURE WILL BE DEEMED TO BE YOUR
CONSENT TO ENTRY OF A JUDGMENT BY THE BANKRUPTCY COURT AND JUDGMENT BY DEFAULT
MAY BE TAKEN AGAINST YOU FOR THE RELIEF DEMANDED IN THE COMPLAINT.



United States Bankruptcy
 Court for the District
     of Delaware                                            /s/ Una O’Boyle
                                                        Clerk of the Bankruptcy Court
Date: November 7, 2023
